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 1 LAW OFFICES OF CHRIS COSCA
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 4 Attorney for Defendant
   PORFIRIO VASQUEZ-HERAZ
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 6

 7                            IN THE UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                   2:14-CR-00276 JAM
10
                                                 STIPULATION REGARDING EXCLUDABLE
11                              Plaintiff,       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                 FINDINGS AND ORDER
12
     v.                                          DATE: August 2, 2016
13                                               TIME: 9:15 a.m.
     PORFIRIO VASQUEZ-HERAZ,                     COURT: Hon. John A. Mendez
14

15                              Defendant.
16

17

18                                           STIPULATION

19         1.      By previous order, this matter was set for status on August

20 2, 2016.

21         2.      By this stipulation, the United States and defendant

22 PORFIRIO VASQUEZ-HERAZ only, now move to vacate the status

23 conference, set this matter for change of plea on August 16, 2016,

24 and to exclude time between August 2, 2016 and August 16, 2016, under

25 Local Codes T2 and T4.

26         3.      The parties agree and stipulate, and request that the Court

27 find the following:

28         a.      This case involves thirteen co-defendants. The United

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 1                States has produced discovery containing approximately

 2                14,000 pages of reports and pictures, 5 DVD's containing

 3                videos, and 1 CD containing multiple audio files. The

 4                Superseding Indictment alleges that the crimes alleged

 5                occurred in at least four counties and two judicial

 6                districts. Based on these facts, the case is unusual and

 7                complex within the meaning of 18 U.S.C. § 3161(h)(7)(A) and

 8                (B)(ii) and Local Code T2 and it is unreasonable to expect

 9                adequate preparation for pretrial proceedings and trial

10                itself within the time limits established in the Speedy

11                Trial Act, 18 U.S.C. § 3161.

12        b.      Counsel for the defendant needs additional time to review

13                the discovery, conduct investigation, interview

14                potential witnesses, and discuss the plea agreement and

15                potential consequences with his client.

16        c.      Counsel for defendant believes that failure to grant the

17                above-requested continuance would deny counsel the

18                reasonable time necessary for effective preparation, taking

19                into account the exercise of due diligence.

20        d.      The government does not object to the continuance.

21        e.      Based on the above-stated findings, the ends of justice

22                served by continuing the case as requested outweigh the

23                interest of the public and the defendant in a trial within

24                the original date prescribed by the Speedy Trial Act.

25        f.      Based on the above-stated facts, the ends of justice to be

26                served by granting the requested continuance outweigh the

27                best interests of the public and the defendant in a speedy

28                trial and the time period of August 2, 2016, up to and

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 1                 including August 16, 2016, shall be excluded from

 2                 computation of time within which the trial of this case

 3                 must be commenced under the Speedy Trial Act, pursuant to

 4                 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and Local

 5                 Codes T2 (unusual and complex case) and T4 (reasonable time

 6                 for defense counsel to prepare).

 7         g.      Defense counsel is unavailable for the currently set August

 8                 2, 2016 status conference due to a conflict in his calendar

 9                 and the Court should exclude time from the date of this

10                 stipulation, July 14, 2016, to the date of the new status

11                 conference, August 16, 2016, under 18 USC Section

12                 3161(h)(A) and (B)(iv) and Local Code T4 due to continuity

13                 of defense counsel.

14         4.      Nothing in this stipulation and order shall preclude a

15 finding that other provisions of the Speedy Trial Act dictate that

16 additional time periods are excludable from the period within which a

17 trial must commence.

18

19         IT IS SO STIPULATED.

20

21
     Dated:     July 14, 2016                      /s/ Samuel Wong
22                                                 SAMUEL WONG
                                                   Assistant United
23                                                 States Attorney
24

25

26 Dated:                                          /s/ Chris Cosca
                July 14, 2016
                                                   CHRIS COSCA
27                                                 Counsel for Defendant
28                                                 PORFIRIO VASQUEZ-HERAZ


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 1
                                            ORDER
 2
     IT IS SO FOUND AND ORDERED this 14th day of July, 2016.
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 4                                          /s/ John A. Mendez
                                            HONORABLE JOHN A. MENDEZ
 5                                          UNITED STATES DISTRICT
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